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                           UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

                                                         Case No. 23-40709-CJP

                                                         Chapter 7


 In re:
                                                      LIST OF EXHIBITS
 WESTBOROUGH SPE LLC


          Pursuant to Rule 5 of Appendix 8 of the Local Bankruptcy Rules for the U.S. Bankruptcy

Court for the District of Massachusetts, the Town of Westborough (“Town”), listed in the Debtor’s

Matrix List of Creditors (Doc. No. 7) in the above-captioned action, hereby lists the exhibits that

are filed separately in conjunction with the Town’s Motion to Dismiss Bankruptcy Case:

                                                                           No. of Pages
          Exhibit                      Description
                                                                         (with cover sheet)
            A        Quitclaim Deed                                               5
            B        MA Certificate of Registration                               4
            C        LLC Agreement                                               20
            D        MA Certificate of Withdrawal                                 3
             E       BBAS Resignation                                             2
             F       DE Administrative Dissolution                                2
            G        Babcock & Brown Withdrawal                                   3
            H        VI Gazette, excerpted                                        4
             I       Search Report                                                3
             J       Instrument of Taking                                         2
            K        Tax Foreclosure Complaint                                    3
             L       Tax Foreclosure Judgment                                     2
            M        DE Certificate of Revival                                    3
            N        Dec. 6, 2022 Email                                           2
            O        Smart Investors MD Documents                                 9
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            P      Akouete LinkedIn                                          3
           Q       Akouete Exs. 2 and 3                                      3
           R       MA Application for Registration                           5
            S      Staples.com Printout                                      3
           T       M. Morris Email                                           4
           U       Jan. 13, 2023 Email                                       2
           V       Bill of Sale                                              3
           W       Motion to Vacate                                      13
           X       In re Blaustein Docket                                    5
           Y       Waiver of Notice and Consent to Conservatorship           3
           Z       Affidavit of Peter L. Blaustein                           3
          AA       Jan. 7, 2023 Email                                        2
          BB       iMessage Screenshots                                  11
          CC       2022 LLC Agreement                                    14
          DD       Opposition without Exhibits                           40
           EE      Land Court Docket                                     11
           FF      Sept. 15, 2022 Text                                       2
          GG       CA Decision                                               3
          HH       June 29, 2023 Email                                       3
           II      Dec. 1, 2023 Email Chain                                  5
           JJ      Dec. 16, 2023 Email                                       2
          KK       Dec. 26, 2023 Email Chain                                 4

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